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  1   Jason M. Rund
      840 Apollo Street, Suite 351
  2   El Segundo, CA 90245
      Telephone: (310) 640-1200
  3   Facsimile: (310) 640-0200
      Email: trustee@srlawyers.com
  4
  5   Chapter 7 Trustee
  6
  7
  8                             UNITED STATES BANKRUPTCY COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
 10                                     LOS ANGELES DIVISION
 11
       In re:                                           Case No.: 2:18-bk-10458-BR
 12
       SONYA MARIE THERIAULT,                           Chapter 7
 13
                              Debtor.                   NOTICE WITHDRAWING TRUSTEE’S
 14                                                     REPORT OF NO DISTRIBUTION
 15
 16             TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 17             NOTICE IS HEREBY GIVEN THAT the Chapter 7 Trustee hereby withdraws Trustee’s
 18   Report of No Distribution filed on or about April 2, 2018.
 19
 20   Dated: April 3, 2018
 21                                                 _/s/ Jason M. Rund__________________
                                                    Jason M. Rund, Trustee
 22
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 24
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                    SHERIDAN & RUND
                                                    840 Apollo Street, Suite 351
                                                    El Segundo, CA 90245

A true and correct copy of the foregoing document entitled: Notice Withdrawing Trustee’s Report of No Distribution
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 3,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

United States Trustee (LA), ustpregion16.la.ecf@usdoj.gov
Counsel for Debtor: Aiden Butler, tocontactaidan@gmail.com
                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On April 3, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor
Sonya Marie Theriault
1855 Industrial Street #703
Los Angeles, CA 90021
                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                             Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

April 3, 2018                         Laura Gitnick                                                 /s/ Laura Gitnick
Date                                  Printed Name                                                  Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
